Case 1:10-cv-02641-REB-MEH Document 6 Filed 11/29/10 USDC Colorado Page 1 of 1



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 10-cv-02641-REB-MEH

  BERLINDA TRUJILLO,

         Plaintiff,

  v.

  PORTFOLIO RECOVERY ASSOCIATES, LLC, a Delaware limited liability company,

         Defendant.


                                        MINUTE ORDER

  Entered by Michael E. Hegarty, United States Magistrate Judge, on November 29, 2010.

         In light of the Notice of Settlement [filed November 24, 2010; docket #5], the Scheduling
  Conference set for January 19, 2011, is hereby vacated. The parties shall file dismissal papers on
  or before December 10, 2010.
